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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 05-cv-02533-EWN-MJW

  THOMAS MONTOYA,

  Plaintiff,

  v.

  BOARD OF COUNTY COMMISSIONERS, CHAFFEE COUNTY, COLORADO, et al.,

  Defendants.

                                     MINUTE ORDER

  Entered by Magistrate Judge Michael J. Watanabe

          It is hereby ORDERED that the Motion to Modify Scheduling Order, which was
  filed with the court on August 1, 2006 (Docket No. 61), is denied without prejudice. The
  court issued a Minute Order on that motion on August 3, 2006, but it has just come to
  the court’  s attention that due to a clerical or technical error, that Minute Order was
  never docketed. Since the deadline sought by plaintiff in that motion has now passed,
  the motion is denied without prejudice.

  Date: September 18, 2006
